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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


                                                      :
LINUS HOLDING CORP.,                                  :
                                                      :
                                                      :
               Plaintiff,                             : Civil No. 17-3694 (FLW)(DEA)
       v.                                             :
                                                      : ORDER
MARK LINE INDUSTRIES, LLC, et al.,                    :
                                                      :
                                                      :
               Defendants.                            :
                                                      :

       This matter comes before the Court on a Motion [dkt. no. 51] by Defendant Joseph C.

Blockno for a Protective Order pursuant to Federal Rule of Civil Procedure 26(c). Mr. Blockno is

“the founder and Managing Principal of Mosaic Capital,” which entity is principally located in

Orlando, Florida, and is the corporate parent of Mark Line Industries, LLC (cumulatively,

“Defendants”). Complaint, ¶¶ 4-5. On May 24, 2017, Plaintiff filed this breach of contract action

against Defendants, and has since served deposition notices which designate New Jersey as the

situs for Mr. Blockno’s deposition.

       Now, Mr. Blockno seeks a protective order directing that his deposition shall instead take

place in Orlando, Florida, the location in which he is employed and resides. Plaintiff opposes the

Motion.

       As a general rule, an “examining party may set the place for the deposition of another party

wherever he or she wishes subject to the power of the court to grant a protective order under Rule

26(c)(1)(B) designating a different place.” Campbell v. Detert, No. 11-642, 2013 U.S. Dist. LEXIS

45981, at *35 (D.N.J. Mar. 28, 2013) (citation and quotations omitted). That Rule, in relevant part,

provides that a district “court may, for good cause, issue an order to protect a party or person from



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annoyance, embarrassment, oppression, or undue burden or expense” in connection with the “time

and place” of discovery. Fed. R. Civ. P 26(c)(1)(B). Accordingly, Rule 26 authorizes a district

court to issue a protective order upon a moving party’s showing of good cause, which burden is

satisfied when that party “specifically demonstrate[s] that disclosure will cause a clearly defined

and serious injury. Broad allegations of harm, unsubstantiated by specific examples, however, will

not suffice.” Glenmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995) (citations omitted).

       Mr. Blockno argues that a protective order is warranted by the circumstances presented,

because “there is a presumption that the deposition of a non-forum defendant will take place where

that defendant resides.” Memorandum in Support of Defendant’s Application for a Protective

Order, at 1. Based on this presumption, Mr. Blockno contends that his deposition should take place

in Orlando, Florida, as opposed to the forum in which Plaintiff brings this action, i.e., New Jersey.

Id. The Court agrees.

       “Under the Federal Rules of Civil Procedure and our jurisprudence, district courts have

broad discretion to manage discovery,” which authority includes determining the location of a

party’s deposition. Sempier v. Johnson & Higgins, 45 F.3d 724, 734 (3d Cir. 1995) (citations

omitted); Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 941 F. Supp. 2d 513, 519 (D.N.J. 2005).

In exercising this discretion, district courts are guided by the following well-settled principle; “as

a general rule, if a deponent lives a substantial distance from the deposing party’s residence, the

deposing party should be required to take the deposition at a location in the vicinity in which the

deponent resides.” First Fidelity Bancorporation v. National Union Fire Ins. Co., No. 90-1866,

1992 U.S. Dist. LEXIS 3367, at *17-18 (E.D. Pa. Mar. 5, 1992) (citations omitted); Exxon Mobil

Corp., 941 F. Supp. at 519; Traynor v. Liu, 495 F. Supp. 2d 444, 452 (D. Del. 2007); Twardzik v.

Sepauley, 286 F. Supp. 346, 350 (E.D. Pa. 1968); J.K. v. CSX Transp., Inc., No. 14-729, 2015 U.S.




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Dist. LEXIS 30958, at *3 (E.D. Pa. Mar. 13, 2015); Kennedy v. Jennelle, No. 90-7192, 1991 U.S.

Dist. LEXIS 2136, at *1 (E.D. Pa. Feb. 22, 1991); Simkins Corp. v. Wahnschaff Corp., No. 85-

6704, 1986 U.S. Dist. LEXIS 29816, at *1 (E.D. Pa. Jan. 31, 1986) (citations omitted). Therefore,

when a dispute in connection with the situs of a deposition arises, district courts routinely defer to

the defendant’s preference on the grounds that it “neither [chose] the cause of action nor the place

of its bringing.” J.K., 2015 U.S. Dist. LEXIS 30958, at *4 (citation and quotations omitted).

        The circumstances presented here do not warrant a deviation from this clearly established

principle, but rather support that the appropriate location for Mr. Blockno’s deposition is Orlando,

Florida. Indeed, the Complaint identifies Mr. Blockno as “the founder and Managing Principal of

Mosaic Capital,” with a principal place of business in Orlando, Florida. Complaint, ¶¶ 4-5. In that

connection, counsel has provided a sworn certification stating that Mr. Blockno “lives and works

in the Orlando, Florida area.” Declaration of Henry F. Reichner (dated March 22, 2018), ¶ 2. In

light of these circumstances and the applicable presumption above, the Court finds that Mr.

Blockno would be significantly burdened by traveling to New Jersey for a deposition. First Fidelity

Bancorporation, 1992 U.S. Dist. LEXIS 3367, at *17 (holding that a protective order will

“undoubtedly avoid the undue burden, expenses, and lost time from work due to traveling to [a]

deposition site” which is a significant distance from a deponent). Therefore, Mr. Blockno has

satisfied the standard for the issuance of a protective order which designates Orlando, Florida as

the situs for his deposition.

        Nevertheless, Plaintiff contends that this Court should refrain from applying the

presumption above and reject Mr. Blockno’s preference for the location of his deposition.

Opposition to Defendant’s Application for a Protective Order, at 4. For support, Plaintiff’s

argument is confined to the following, conclusory sentence. “Undoubtedly, in light of the hundreds




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of thousands of dollars with which defendants have absconded in this matter, the significant

discovery disputes which have arisen in the litigation, and which continue to arise, and the fact

that all counsel in this matter are located in or near the forum district, the proper venue for

Blockno’s deposition is here in New Jersey.” Id. at 4-5. The Court is not persuaded by these

contentions.

       Here, Plaintiff appears to argue that a dispute which requires Court intervention may arise

during Mr. Blockno’s deposition. To the extent that such a dispute does occur, Plaintiff’s concern

can be easily addressed through a mere telephone call to the Court, at which time the parties can

articulate their differences and the Court will provide an appropriate manner by which to proceed.

Significantly, the parties would engage in the same method of resolution regardless of whether

Plaintiff designates Florida or New Jersey as the location for Mr. Blockno’s deposition. Therefore,

this generic concern is an insufficient basis to refrain from applying the general rule. Nor do

Plaintiff’s additional arguments warrant a different outcome. Although Plaintiff correctly notes

that Mr. Blockno’s attorney is located in New Jersey, the presumption above gives preference to

the burden placed on the parties. See Clean Air Council v. Dragon Int’l Group, No. 06-0430, 2007

U.S. Dist. LEXIS 89565, at *3 (M.D. Pa. Dec. 5, 2007). Thus, Plaintiff has failed to sufficiently

distinguish this case “from the ordinary run of civil cases,” such that the general rule is

inapplicable. J.K., 2015 U.S. Dist. LEXIS 30958, at *4 (citation and quotations omitted). 1

Accordingly,

       IT IS on this 1st day of May, 2018



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       As an alternative, the Court notes that Plaintiff may conduct Mr. Blockno’s deposition by
video-conference pursuant to Rule 30(b)(4), which provides that “[t]he parties may stipulate—or
the court may on motion order—that a deposition be taken by telephone or other remote means.”
Fed. R. Civ. P. 30(b)(4).



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        ORDERED that Defendant’s Motion [dkt. no. 51] for a protective order is GRANTED;

and it is further

        ORDERED that Plaintiff shall serve a new notice upon Mr. Blockno designating a location

in Orlando, Florida for the taking of his deposition.



                                                        s/ Douglas E. Arpert
                                                        DOUGLAS E. ARPERT
                                                        UNITED STATES MAGISTRATE JUDGE




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